Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 1 of 8 PageID 1
Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 2 of 8 PageID 2
Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 3 of 8 PageID 3
Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 4 of 8 PageID 4
Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 5 of 8 PageID 5
Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 6 of 8 PageID 6
Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 7 of 8 PageID 7
Case 6:12-cv-01651-JA-T_S Document 1 Filed 11/05/12 Page 8 of 8 PageID 8
